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IN THE UNITED sTATEs DISTRICT coURT FlF-ED HY%( D.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE

 

wESTERN DIVISION 05 JUP»§ lG FH 14: 95
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UNITED sTATEs oF AMERICA, 1§§§5!`:’,’§;\~$=§€%§'DY§EPH§
‘.-,.-F. \¢.H’ ", iv‘§llljv '
VS_ NO. 04»203lO-Ma

MAJOR GRUBBS,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE SUPPRESSION HEARING

 

Before the court is the June 8, 2005, motion by the
government to reset the hearing on the motion to suppress which
was set on June 9, 2005. Counsel for the defendant does not
oppose the resetting. For good cause shownr the motion is
granted. The hearing on the motion to suppress is reset to
Thursday, July 28, 2005, at 2:00 p.m.

The trial of this matter is reset to Septemher 6, 2005, at
9:30 a.m., with a report date on August 26, 2005, at 2:00 p.m.
The period from June l7, 2005, through September 16, 2005, is
excluded under 18 U.S.C. § 3161(h)(8)(B}(iv) due the need for
additional time to prepare.

§
rt is 50 oRDERED this l anay of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

  

 

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ThiS notice confirms a copy of the document docketed as number 60 in
case 2:04-CR-203]0 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

